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          EXHIBIT N
Case 1:24-cv-04126-PKC-MMH Document 4-15 Filed 06/10/24 Page 2 of 70 PageID #: 166

  £ ur                                                    US. Department of Justice
   th
    Sa                                                    United States Marshals Service
                                                          Officeof General Counsel
                                                          CG, 15 Foor
                                                          Washington. DC 20530-0001
                                                          January 5, 2022

   MeJason Leopold

 I

            Re: Jason Leopold, et al. v. U.S. DeparmentofJustice, Civil Action No. 21-2676
            (RDM) (EOUSA-2021-002953))
   Dear Mr. Leopold
            ‘The United States Marshals Service (USMS) is responding to your Freedom of
   Information Act (FOIA) request for various documents pertaining to the album “Once Upon a
   ime in Shaolin” produced by the Wu-Tang Clan, which was purchased by Martin Shel,
   seized by the Department of Justice (DO), and sold to a subsequent buyer. Your FOIA request
   dated August 4, 2021, originally filed with the DOY’s Criminal Division, is the subjectofthe
   above-referenced litigation.
            Pursuant to your request, the USMS conducteda search of the Asset Forfeiture Division
   and located 67 pages of responsive documentation. Portions of the pages are withheld pursuant
   10 FOIA Exemptions (b)(4), (56), (5)7)(C), and (b)(7)(F). Please note these documents are
   being released to various FOIA requestors who sought information pertaining to the album and
   sal. Please also note that the USMS did not maintain a copy of the recording in Agency
   systems. The recording itself is not reproduceable.
            FOIA Exemption (b)(4) protects trade secrets and commercial or financial information
   obiained from a person that is privileged or confidential. The exemption covers two broad
   categoriesofinformation in federal agency records: (1) trade secrets; and (2) information that is
   (2) commercial or financial, and (b) obtained from a person, and (c) privileged or confidential
   Additionally, please note that other federal laws may prohibit the public release of privileged and
   confidential financial and/or commercial information, such as 17 U.S.C. §106; 17 US.C. §114;
   17US.C. §501etseq.; and, 17 U.S.C. §506, in conjunction with 18 U.S.C. § 2319(b).
            FOIA Exemption (b)(6) allows an agency to withhold personnel, medical, and similar
   files, the disclosureof which would constitute a clearly unwarranted invasionofpersonal
   privacy. Records that apply to or describe a particular individual, including investigative
   records, qualify as “personnel,” “medical,” or “similar files” under Exemption 6. FOIA
   Exemption (b)(7)(C) protects records or information compiled for law enforcement purposes to
   the extent that the production of such records or information could reasonably be expected to
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   constitute an unwarranted invasion of personal privacy. A discretionary release of such records
   is not appropriate. See United States Department of Justice (DOJ) v. Reporters Committee for
   Freedom of the Press, 489 U.S. 749 (1989).

           FOIA Exemption (b)(7)(F) protects law enforcement information that "could reasonably
   be expected to endanger the life or physical safety of any individual.” 5 U.S.C. § 552(b)(7)(F)
   (2006), amended by OPEN Government Act of 2007, Pub. L. No. 110175, 121 Stat. 2524.
   Courts have routinely upheld the use of Exemption (b)(7)(F) to protect the identities of law
   enforcement agents, as well as protect the names and identifying information of non-law
   enforcement federal employees, local law enforcement personnel, and other third persons in
   connection with particular law enforcement matters. See Rugiero v. DOJ, 257 F.3d 534, 552
   (6th Cir. 2001); Johnston v. DOJ, No. 97-2173, 1998 WL 518529, *1 (8th Cir. Aug. 10, 1998).

           Accordingly, the personally identifiable information of government employees was
   withheld from the responsive documentation. The disclosure of such sensitive information
   contained in records compiled for law enforcement purposes to the public could subject
   government personnel to harassment and unwelcome contact. This could disrupt and impede
   official agency activity, as well as endanger the safety of law enforcement officials.
   Additionally, the personally identifiable information of third parties named in the records was
   withheld. The disclosure of third-party information could constitute an unwarranted invasion of
   personal privacy and subject the individuals to undue public attention. Individuals have a
   recognized privacy interest in controlling how contractual communications pertaining to them
   are disseminated.

           For your information, Congress excluded three discrete categories of law enforcement
   and national security records from the requirements of the FOIA. See 5 U.S.C. 552(c) (2006 &
   Supp. IV (2010)). This response is limited to those records that are subject to the requirements
   of the FOIA. This is a standard notification that is given to all our requesters and should not be
   taken as an indication that excluded records do, or do not, exist.

          If you have any questions regarding this release, please contact Assistant United States
   Attorney Diana Valdivia at (202) 252-2545, who represents the DOJ in this matter.

                                                               Sincerely,



                                                               Charlotte M. Luckstone
                                                               Associate General Counsel
                                                               FOIA/PA Officer
                                                               Office of General Counsel
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                             315 W 36th Street | New York, NY 10018
                                                                                      Peter Scoolidge
                                                                                          Partner

                                                      March 9, 2018
   VIA EMAIL

  3                  WesAttorney
   United States Attomeys Office
   Eastem District of New York
   271 Cadman Plaza East
   Brooklyn. NY 11201

                 Re:     Martin Shkreli Asset Forfeiture: “Once Upon a Time in
                         Shaolin”
  Dear[PIO00_]
          Nice to meet you — (9X6) GX7IC)                                             regarding his
  copyright and contractual rights in the “Onee Upon a Time in Shaolin” work. 1am familiar with
  theorder entered by Judge Matsumoto earlier this week that requires forfeitureofthat work asa
  substitute asset. Please be advised that any transfer of “Once Upon a Time in Shaolin” by Mr.
  Shkreli to any third party is restricted substantially by the terms of the September 3, 2015
  Purchase Agreement through which Mr. Shireliobtainedthe work.
          Among others, the restrictions prohibit Mr. Shel from:




                           expects the United States govemment and its agencies to take possession
  ofand/or ile 10 the “Once Upon a Time in Shaolin” workunder the same terms as Mr. Shkreli.
   ‘While I understand that Mr. Shkreli’s transfer
                                                 ofthe work to the United States is compulsory, the

                                   Intellectual Property Attorneys
                                             New York, NV
Case 1:24-cv-04126-PKC-MMH Document 4-15 Filed 06/10/24 Page 5 of 70 PageID #: 169




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  relevant temsof the Purchase Agreement refer broadly to a “resale or transfer,” and]
 [PPX position is that this situation qualifies as a “transfer.” The United States and its
  agencies cannot take greater property rights from Mr. Shel than were granted by my client in
  the Purchase Agreement.                     is prepared to fle a peition under the forfeiture order
  10 proteet his rights in the work. Please advise ifyou are open to potentially working out an
  agreement with my client and Mr. Shireli that protects my client's rights so that we can avoid
  the need to burden Judge Matsumoto with this matter.
       [FIBRE              expressly reserves all rights and nothing herein shall be construed as a
   waiver of any claim, position, right, or defense. Please feel free to contact me at
   if you would like to discuss. Simultancously with the sendingofthis letter am also
   corresponding with Mr. Shkreli’s counsel.
                                                         Sincerely,


                                                         Peter Scoolidge
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     4                           MIR MARTIN SHKRELL
                        HEREBY YOUR PUFr   HASE CERTIFICATE
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    ASTR7%)                                                U.S. Department of Justice
      sd
    \§ vy                                                  United States Marshals Service
                                                           OfficeofGeneral Counsel
                                                           Crystal Gateway 3,15* floor
                                                           Washington, DC 20530-0001
                                                           December 20, 2019
                                                           Via Electronic and U.S. Mail

  Peter Scoolidge, Esq.
  Scoolidge LLP
  315 West 36th Street
  New York, New York 10018
 BOOTS               Jeom
          Re: United StatesofAmerica v. Martin Shkreli, 15-CR-637 (EDNY)
                  Forfeiture and Saleofthe Wu-Tang Clan Album: Once Upon a Time in Shaolin
  Dear Mr. Scoolidge:
          ‘We write in follow-up to our telephone callofDecember 17, 2019, in connection with the
  United States Marshals Service's (“USMS”) intention tomarketand sell the Wu-Tang Clan
  album, Once Upon a Time in Shaolin (the “Album”, pursuant to the Preliminary Order of
  Forfeiture, dated March 5, 2018, and the Final Orderof Forfeiture, dated September 10, 2018,
  entered in the above-referenced criminal case. As defendant Martin Shkreli (the “Defendant”)
  has forfeited to the United States allofhis right, title, and interest in the Album, the USMS is
  charged with selling the Defendant's forfeited interest in the Album in an effort to collect the:
  outstanding balanceofthe forfeiture moneyjudgment that was entered against him.
          “Thank you for your candor with us during the telephone call. In that call you disclosed
  that the Album, produced in pat yPOTO Y                                                 TR]


           ‘Based upon our conversation, and further to the USMS” efforts to sell the Defendant's
   interest in the Album, the USMS = _-—

         ‘The original Purchase Agreement for the Album)
 Promo                                                     dad Sepember3 05.
  “Purchase Agreement’), includes, among other rights, the right to display the presentation box
  (the “Box”) designed by the British-Morocean artist Yahya Rouach. See Purchase Agreement at
  §4(a)(2). Specifically, Paragraph 11 ofthe Purchase Agreement, in relevant part, provides:
  “The Box shall be and shall remain propertyofthe Buyer. It is understood by Sellers that the
  Buyer, under the termsofthis Agreement, shall have the right to sell and/or exhibit the Box.
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   embedded with the Wu-Tang Clan logo, as authorized herein.” The USMS seeks to confirm
   what the display rights include so that any sale complies with the termsof the Purchase.
   Agreement. To that end, please provide us with a copyofany written agreements with Yahya
   Rouach which conveyed to the Sellers the right to exhibit the Box.
           Finally, as the rights and interests in the Album forfeited by the Defendant are subject to
   the various restrictions set forth in the Purchase Agreement, please provide us with a clear and
   unredacted, high resolution scanofthe Purchase Agreement and Exhibits. We also request that
   you provide us with the name and contact information for
           ‘We respectfully request that the foregoing information be provided to us at your earliest
   convenience, but in any event no later than January 17, 2020. We also note that the government
   reserves allof ts rights in this matter, including those based upon the Sellers’ representations,
   warranties, and indemnification provisions set forth in the Purchase Agreement. Please contact
   ne                                                     ito haemy sions.
                                                         Sincerely,


                                                         “Associate General Counsel


   : stem Disclof New Yor

        “Assistant United States Atiomey
        Eastem Districtof New York
Case 1:24-cv-04126-PKC-MMH Document 4-15 Filed 06/10/24 Page 62 of 70 PageID #: 226




                                ASSET PURCHASE AGREEMENT
           THIS ASSET PURCHASE AGREEMENT (this “Agreement”) is made as of July 19,
   2021, by the United States Marshals Service (the “USMS). for and on behalf    ofthe United States
   ofhmslo
  company           bol e           roger, Paras (eolTeevely, Te Paries
                                              RECITALS
           WHEREAS, in the criminal case of United Sates v. Martin Shkreli, 15-CR-637 (EDNY),
   the Court issued a Preliminary Order of Forfeiture, dated March 5, 2018, and a Final Order of
   Forfeiture, dated September 10, 2018, (together, the “Forfeiture Orders”) pursuant to which the
   defendant, Martin Shel, forfeited all of his righ, title and interest in “the album Once Upon a
   Time in Shaolin by the Wu Tang Clan” (the “Album") “as well as proceeds traceable thereto, up
   10 the amountof the Forfeiture Money Judgment” imposed against him;
           WHEREAS, pursuant to 28 C.F.R. § 0.111(9), the USMS may dispose      ofproperty forfeited
   tothe United States onbehalf of the United States:
           WHEREAS, the Album is encumbered by certain rights and obligations contained in the
   HI pn nto ro St EE neve
   Shkreli, dated September 3, 2015, (the “Original Purchase Agreement’),
            WHEREAS FIED                  was formed and is managed by[EXC
                                                                         for the sole
   purposeofpurchasing the Assets;
            WHEREAS FTP] is one of the sellers of the Album to Martin Shi under the
   Original Purchase Agreement and has exclusive knowledge of the copyright status of the Album,
   including all material contained therein
           WHEREAS, pursuant to the Original Purchase Agreement Martin Shireli purchased the
   Album which includes associated items tured over to the United States by him, including those
   listed on Exhibit A attached hereto (the “Listed Items”), subject to various restrictions: and
           WHEREAS, the USMS desires to sell and the Purchasers desire to purchase the Album
   and the Listed Items (collectively, the “Assets”), on the terms and conditions set forth in this
   Agreement
           NOW THEREFORE, in consideration of the mutual promises contained herein, and for
   other good and valuable consideration, the receipt and sufficiency of which eachof the Parties
   acknowledges, the Parties agree as follows:
   1. The Asset. The USMS is offering for sale only those rights to the Assets forfeited by Martin
       Shkreli pursuant to the Forfeiture Orders. The Assets are sold “As-ls, Where Is” with no
       representations or warrantiesas totheir condition, usability, or fitnessforany purpose. The
       Assets are currently sealed with tamper-proof evidence tape and willbedelivered in that sate
   2.   Purchase Price. The price i              J for the Assets, and Purchasers will also reimburse
        the USMS for its expenses in the amount of™
                                                 ____| for a total payment of]
      (the “Purchase Price”).
   3. Closing. Transferof the Assets will take place within two business days of receipt of the
      Purchase Price and the satisfaction or waiverofall contingencies (the “Closing”). Seller will
      deliver to Purchasers the Assets at Closing. The Closing will take place at the USMS District
   Once Upon a Tine in Solin                         Lofs
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      Office for the Eastern District of New York, 225 Cadman Plaza East, Room G-20, Brooklyn,
      New York 11201, or such other place as is mutually agreeable to the Parties. The sole Closing
      obligationofthe United States is to deliver the Assets, a Billof Sale in substantially the same
      form as Exhibit B, and an Assignment and AssumptionofRights in substantially the same
      formas Exhibit C. At Closing, Purchaserswill sign the Assignment and AssumptionofRights.
      At Closing, Purchasers will be represented by their counsel, Peter Scoolidge.
   4. Representations and Warrantiesof Purchasers. Purchasers represent and warrant that they cach
      have the right, authority, and permission under the law and the Original Purchase Agreement
      to enter into this Agreement. Purchasers hereby affimatively represent that none of the
      financing for the transaction contemplated hereby comes, directly or indirectly, from Martin
      Shkreli. The signatoryfor ®)6) (GX746) warrants that he has the express authority of the
      entity to execute this Agreement on its behalf. Purchasers hereby represent and warrant that
      Peter Scoolidge has full authority to act on their behalfin the Closing.
   5. Representations  andWarrantiesofSeller. Seller makes no representations or warranties under
      this agreement. Further, and for the avoidance of any doubt, Seller does not undertake or
      assume any of the representations or warranties with respect to the Assets set forth in the
      Original Purchase Agreement. Any description of the condition of the Assets is provided
      solely t0 identify the assets to be transferred. Seller hereby disclaims all warranties including
      any implied warranties of merchantability or fitness for a particular purpose. The foregoing
      notwithstanding, Seller represents and warrants that it has received no notice of any liens
      against the Assets and that it is transferring to Purchasers that title provide to Seller by the
      Forfeiture Orders and that the Seller is authorized by 28 C.E.R. § 0.1 11(i) to transfer the Assets.
   6. Indemnification. Purchasers hereby agree to indemnify the United States and all its agencies
      and contractors against all claims and losses associated with the creation. purchase, sale, or
      disposalofthe Assets, including any and all Copyright Act claims; provided, however, tha the
      United States shall assert any and all defense arising from sovereign immunity as a condition
      precedent to Purchasers’ obligation to indemnify under this Section 6.
   7. Releases  andHoldHammes Purchasers herebyrelease the United States and all its agencies
      and contractors and agree to hold them harmless against al claims and losses associated with
      the creation, purchase, sale, or disposalofthe Assets including all Copyright Act claims.
   8. Further Restrictions. The Assetsare sold subject to the restrictions containedin the Original
      Purchase Agreement. The USMS will assign to Purchasers any of the “Buyer's” rights under
      the Original Purchase Agreement forfeited by Shkreli, and Purchasers shall assume all
      obligationsof the “Buyer” thereunder, including those set forth in paragraph 9, below
   9. Waiver of Profits, Payment, and Indemnity fi



       to comply with all of Mr. Skreli's obligations under the Original Purchase Agreement,
       including all obligations under paragraph 6 thereof. Purchasers hereby agree to indemnify the
       United States and all its agencies and contractors against ll claims made by[FrS000pr any

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       other party arising from obligations created in, by, or through the Original Purchase
       Agreement.
   10. Restriction on Sales. Purchasers agree to comply with USMS Policy Directive 13.7.
        Accordingly, under no circumstances   will they allow the Assets to revert to Martin Shkreli nor
       shall Purchasers allow Martin Shkreli to receive any benefit, direct or indirect, from the sale
       of the Assets, other than the benefit conferred by the Forfeiture Orders applying the proceeds
      of sale to his outstanding forfeiture moneyjudgment.
   11. Seller's Conditions to Closing. The obligation of the Seller to effect the transactions
       contemplated hereby is subject to the following preconditions: (a) The Forfeiture Orders must
       continue to be in full force and effect; and (b) Martin Shkreli shall confirm in writing that he
       agrees to the saleof the Assets for an amount equal to the outstanding balance ofhis forfeiture:
        money judgment. To the best of Seller's knowledge, the foregoing conditions to the Seller's
       obligation to proceed with the sale have been satisfied and Seller has received no notice to the
       contrary.
   12. Buyer's Conditions to Closing. The obligation of Purchasers to effect the transactions
       contemplated hereby is contingent upon their satisfaction at closing that the two compact discs
       that comprise the Album can play at least the first 10 secondsofeach track. Purchasers are to
       provide their own equipment at Closing to conduct theirinspection, further Purchasers assume
       all risksof damage to the Album during their testing.
   13. Termination. This Agreement may be terminated only by the written consentof the Parties.
   14. Survival of Representations and Warranties. Notwithstanding any investigation made by any
       party to this Agreement, all representations and warranties made by the Parties herein shall
       survive the execution of this Agreement, the delivery to the Purchasers of the Assets, and the
       payment therefor.
   15. Fees, Expenses, and Tax Liability. Whether or not this Agreement and the transactions
       contemplated hereby are consummated, all costs and expenses (including legal and financial
       advisory fees and any other expenses) and all ax liability, if any, incurred in connection with,
       orin anticipation of, this Agreement and/or the transactions contemplated hereby must be paid
       by the Party incurring such costs, expenses, and/or tax liability.
   16. Governing Law. The enforcement, interpretation, and constructionofthis Agreement, andall
        matters relating hereto, will be governed by federal law, and in the event that federal law is
       silent or inapplicable, and as federal law permits, the lawsof the State ofNew York will apply,
       without giving effect to the conflictof laws principles thereof.
   17. Waiver. The failure of any party at any time or times to require performanceofany provision
        hereof will in no manner affect the rightof such party ata later time toenforce the same or any
       other provision of this Agreement. No waiver of any condition or of the breach of any term
       contained in this Agreement in one or more instances may be deemed to be or construed as a
        further or continuing waiverofsuch condition or breach or a waiverofany other condition or
      of the breachofany other term of this Agreement.
   18. Severability. Any term or provisionofthis Agreement that is invalid or unenforceable in any
       jurisdiction will as to that jurisdiction, be ineffective to the extent of such invalidity or
       unenforceability without rendering invalid or unenforceable the remaining terms and
       provisions of this Agreement or affecting the validity or enforceabilityofanyofthe terms or
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       provisions of this Agreement in any other jurisdiction. Ifany provision of this Agreement is
       So broad as to be unenforceable, the provision will be interpreted to be only so broad as is
       enforceable.
   19. Headings. The headings contained in this Agreement are for reference purposes only and are
       not partof this Agreement
   20. Counterparts and Digital Copies. This Agreement may be executed in two or more
       counterparts, each of which will be deemed to be an original, but allofwhich together will
       constitute one and the same instrument. This Agreement may be signed and/or exchanged
       electronically and digital copies shall be treated as originals.
   21. Entire Agreement. This Agreement constitutes the entire agreement between the Parties with
       respect to the transactions contemplated hereunder and supersedes all prior arrangements or
       understandings with respect thereto, written or oral. Further, this Agreement is not binding
       until signed by all Parties.
   22. No Third-Party Beneficiaries. Except as otherwise set forth herein, no one will be deemed a
       third party or other beneficiary of this Agreement, nor will they have any right or other
       entitlement in connection with any provisionofthis Agreement nor may they seek any remedy,
       or right or entitlement in connection with this Agreement
   23. Interpretation. In the event an ambiguity or question of intent or interpretation arises, this
       ‘Agreement shallbe construed asifdrafted jointly by the Parties and no presumption or burden
       of proof shall arise favoring or disfavoring any party by virtue of the authorship of any
       provisionsofthis Agreement
   24. Confidentiality. Seller and its employees shall not, except  asstated herein, disclose the identity
       ofthe Purchasers or the Purchase Price (“Confidential Information”), but may publicly disclose
       the fact that it has sold the Assets. The foregoing notwithstanding, Seller may disclose any
       Confidential Information it deems necessary to: Martin Shkreli and/or his counsel; other
       Divisions and Agencies of the Department of Justice; any courts of the United States;
       Congress; and/or as otherwise required by law. Seller may disclose to anyone such
       Confidential Information as it deems necessary to contradict any false information released
       publicly by Purchasers and/or their successors-in-interest. Seller may release Confidential
       Information as required by the Freedom of Information Act but will assert all applicable
       exemptions before doing so. Seller may also release any Confidential Information as required
       by law. Purchasers acknowledge that the Departmentof Justice may issue a press release
       which indicates that the government has sold the Assets and fully collected the amount owed
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       ‘on MartinShreli's outstanding forfeiture moneyjudgmentFT]

   IN WITNESS WHEREOF, the undersigned have duly exceuted this Agreement asofthe date and
   year first written above:

   PURCHASERS
        BYE), BR7RC)            Digitally signed by


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   SELLER

        UNITED STATES MARSHALS SERVICE
        for and onbehalf of the United States of America
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       Title:

            Asset Forfeiture Division




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   Once Upon a Time inShaolin                         Sof5
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                                              EXHIBIT A
                                             ASSET LIST
   “The following descriptionof the Assets to be sold was adapted from a description provided by
   Seller's storage contractor. Seller makes no representations regarding the conditionof the Assets
   other than that the below items will be provided at closing.
   Wa-Tang Clan’s album Once Upon a Time in Shaolin:
       + Audio recording on two (2) CDs.
       + Outer box: Cedar wood box covered in black cow leather with light beige velvet lining.
           Inner box: Nickel-silver box and innerjewel case containing two CDs, overcedar wood
           with black cow leather lining.
       «= Leather-bound lyric book containing lithographs depicting original artwork and
           photographsofband members. Approximately 175 pages.
       «Leather folder with Gold-leafed certificateofauthenticity.
           Leather folder with Indenture and purchase agreement. Approximately 30 pages




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                                              EXHIBITB
                                            BILL OF SALE




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                                              EXHIBIT C
                         ASSIGNMENT and ASSUMPTION AGREEMENT
           THIS ASSIGNMENT AND ASSUMPTION AGREEMENT (“Agreement”) dated and
   effective as of July __, 2021, (the “Effective Date”), is made by the United States Marshals

                                                                                          (oles:
   Service, acting   for and on behalf of the United States of America, (the “Assignor”) and FE]


                                               RECITALS
           WHEREAS, pursuant to the Asset Purchase Agreement between Assignor and Assignees,
   dated July 19,2021 (“APA”)Assignor wishes to assign to Assignees all rights forfeited by Martin
   Shieh under that crn phase agreement bvesn PBT
   Martin Shkreli dated September 3, 2015, (the “Original Purchase Agreement”); and
          WHEREAS, Assignees are willing to assume the obligations of Martin Shkreli under the
   Original Purchase Agreement.
            NOW, THEREFORE, in considerationofthe premises and mutual promises, agreements,
   and covenants contained herein and in the APA, the Assignor and Assignees hereby agree as
   follows:
           Assignment. In consideration for good and valuable consideration provided by Assignees
   to Assignor, Assignor hereby sells, assigns, and transfers to Assignees, and Assignees hereby
   purchase and accept from assignor, effective as of the Effective Date, all right, title, and interest
   which Assignee owns in the Original Purchase Agreement.
          Assumption. In consideration for the assignmentof the foregoing rights under the Original
   the Origin archas Agreement.
   Purchase Agreement, Assignees hereby assume all obligationsof Assignor arising under or out of

   ASSIGNEES                                             ASSIGNOR

                      pu,                                                        Service, or an
                                                         United States MarshalsStates
                      [Date:2021.07.20                         ofthe United
                                                         on behalf                    of America


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   Its:    Authorized Agent
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 US. Department of Justice
 United Sates Marshals Service EE
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               United States Marshal's Bill of Sale
             BE IT KNOWN that the United Statesof America, acting by and through the United States
     Marshals Service (“Seller”), by virtueof that certain Final Order of Forfeiture, dated September
     10, 2018, and issued by the United States District Court for the Eastern District of New York, in
    thecaseof UnitedStatesof Americav. Martin Shkreli, Case No. 15-CR-637, has soldallofMartin
     Shkreli’s former right title, and interest, iner alia, in the Wu-Tang Clan album Once Upon a Time
     in Shaolin as described in the Final Order ofForfeiture.
             NOW THEREFORE, and in considerationof the paymentofthe sum offF]
     the purchase price for the above-described property, I hereby sell, transfer, and convey, “AS IS.”
     with no guarantees or warranties, express or implied, all right, title, and interest in the above-
     described property that the United States Marshals Service is authorized to covey by law toff8L_]


           WITNESS, the hand and official seal of the Seller hereby affixed effective on this 27th
     dayofJuly, 2021.
                                                 UNITED STATES OF AMERICA
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                                               By FT] Rone
                                                Title:
                                                       “Assel Management
                                                       Asset Forfeiture Division
                                                       United States Marshals Service
